


  On January 30, 2009, this court suspended the petitioner, J. Gregory Swanson, from the practice of law in Kansas for a period of 2 years. See
  
   In re Swanson,
  
  288 Kan. 185, 200 P.3d 1205 (2009). Before reinstatement, the petitioner was required to pay the costs of the disciplinary action and furnish proof of compliance with Supreme Court Rule 218 (2010 Kan. Ct. R. Annot. 370).
 

  The Disciplinary Administrator has filed a report verifying that the petitioner has fully complied with the conditions imposed upon him by this court.
 

  This court, having reviewed the files and recommendation of the office of Disciplinary Administrator, finds that the petitioner should be reinstated to the practice of law in Kansas.
 

  It Is Therefore Ordered that J. Gregory Swanson be reinstated to the practice of law in the state of Kansas conditioned upon his compliance with the annual continuing legal education requirements and upon his payment of all fees required by the Clerk of the Appellate Courts. Upon proof provided to the Clerk of the Appellate Courts that the petitioner has complied with the annual continuing legal education requirements and has paid the fees required by the Clerk of the Appellate Courts and the Kansas Continuing Legal Education Commission, the Clerk is directed to enter petitioner’s name upon the roster of attorneys engaged in the practice of law in Kansas.
 

  It Is Further Ordered that this order of reinstatement for J. Gregory Swanson shall be published in the Kansas Reports and the costs of the reinstatement proceeding are assessed to the petitioner.
 
